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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division


SORINA MONTOYA, on behalf of herself
and all others similarly situated,

       Plaintiff,

v.                                          Civil Action No. 3:23cv314

KING.COM LIMITED,
KING DIGITAL ENTERTAINMENT PLC, and
ACTIVISION BLIZZARD, INC.

       Defendants.

                              MEMORANDUM OPINION

       This    matter   is   before   the   Court   on DEFENDANT ACTIVISION

BLIZZARD,      INC.'S MOTION TO COMPEL MANDATORY ALTERNATIVE DISPUTE

RESOLUTION (ECF No. 33), and the supporting, opposing, reply, and

supplemental memoranda (ECF Nos. 34, 62, 72, 90, 91, and 92), and

DEFENDANTS', KING.COM, LIMITED AND KING DIGITAL ENTERTAINMENT PLC,

MOTION TO COMPEL MANDATORY ALTERNATIVE DISPUTE RESOLUTION (ECF No.

48),     and   the    supporting,     opposing,     reply,   and   supplemental

memoranda (ECF Nos. 49, 65, 77, 90, 91, and 92). For the reasons

set forth below, the motions (ECF Nos. 33 and 48) will be granted.

                                    BACKGROUND

       I. Factual Background

       In March through April of 2023, Plaintiff participated in the

Candy Crush All Stars 2023 Tournament ("Tournament"). ECF No. 2 ~,r

96-105    ("Compl.").    Candy Crush is a popular match-making puzzle
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game played on mobile devices.             Compl.    1 37.   The game involves

"crushing" candies "by matching three or more of the same candy

icons in consecutive order" to clear them from the game board and

earn     points.    Compl.   11   37-39.    At     each   level,   players   must

accomplish a certain goal in a limited number of moves. Compl.                  1
38. If players do not accomplish the goal, players lose a "life,"

and the board resets. Compl.         1 39. Players receive five lives to
start,    and new lives regenerate after a certain amount of time

unless the player pays for extra lives. Compl.               ~1 40-41.
        King.com Limited is the developer of Candy Crush. Compl.               1~
19-21, 31-32. Its affiliate is King Digital Entertainment PLC, and

their      parent     corporation     is      Activision       Blizzard,     Inc.

(collectively "Defendants"). Compl. ~119-21.

        In March 2023, Defendants launched the Candy Crush All Stars

2023 Tournament, which allowed Candy Crush players from around the

world to compete for a chance to win $250,000 in prizes and an

expense-paid trip to London. Compl. 11. The Tournament consisted

of multiple rounds, and participants had to advance to the final

round in order to win the top prizes. Compl. 11 50-53. To help

them succeed,       participants could purchase in-game boosters and

extra lives with real money. Compl.           11 2, 7.
       After spending over $3,000 and close to one-hundred hours on

the Tournament, Plaintiff filed a class action complaint against

Defendants alleging three counts:            (1)    violation of the Virginia

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Consumer Protection Act, Va. Code Ann. § 59.1-200(14),                        (2) fraud,

and (3) unjust enrichment. Compl.                11 106, 111-145. Plaintiff says
that    Defendants        omitted      or    actively    misrepresented           certain

information       to     Tournament     participants         which   caused    them    to

overestimate their chances of success and spend more than they

otherwise     would       have    on    in-app       purchases       to   boost     their

competitiveness. Compl. 1111, 16. That information included "(1)

the number of players advancing through each Tournament stage,                        (2)

that some competitors gain an unfair advantage by cheating,                           (3)

that some competitors have an unfair advantage because they have

unlocked game modes           that give them enhanced abilities                   ('Super

Users'),    and    (4)    that some users can play offline,               which masks

their running scores." Compl.               111.
       Defendants        argue,   inter      alia,    that    Plaintiff     agreed     to

arbitrate those types of claims when she agreed to King's Terms of

Use. 1 Defendants say that Plaintiff agreed to King's Terms of Use

in two ways:      (1) by accepting that she agreed to the Terms of Use

before playing Candy Crush, and (2) by agreeing to the Terms of

Use when she registered for King's Community Forum.




1 In Defendants' briefs, the terms are referred to interchangeably
as the "Terms of Use" and the "Terms of Service." There appears to
be no difference between the two, so the Court will refer to them
as the Terms of Use, which is how those terms are titled in the
operative documents (ECF Nos. 49-2 and 34-1).
                                             3
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     Every Candy Crush player must accept King's Terms of Use

before playing Candy Crush for the first time and whenever the

Terms of Use are updated. ECF No. 90 at 3-4. When a player first

opens the app, a popup dialogue box appears which states,            "We've

updated our Terms: To continue playing, you need to confirm that

you agree     to our Terms    of   Service and have    read our Privacy

Policy." ECF No. 90 at 3. 2 The Terms of Service and Privacy Policy

are hyperlinked below that statement, which is indicated by a blue

font color.    Id.   At the bottom of the dialogue box is a           green

"Accept" button. Id. A user cannot advance past this dialogue box

until affirmatively clicking the green "Accept" button. Id. at 4.

King's own records show that Montoya's Candy Crush account clicked

the accept button on May 23, 2018, April 12, 2022, and August 28,

2022. 3 ECF No. 90 at 5.

     Defendants also determined that Plaintiff agreed to the Terms

of Use when she registered for King's Community Forum, which "is

a website built for Candy Crush players to get help, connect with

other players worldwide, and obtain information." ECF No. 90 at 7



2 Why the phrase in the dialogue box is "Terms of Service" rather
than "Terms of Use" is unexplained.

3 Defendants identified Plaintiff's "Core User Identification
Numbers" associated with her Candy Crush account and located in
their data the records associated with those Core User IDs
documenting each acceptance of the Terms of Use in the Candy Crush
application and the exact times when those acceptances occurred.
ECF No. 90 at 4-6.
                                     4
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(quoting ECF No.       42-1   1 28). The process of signing up for the
Community Forum is separate and distinct from the process described

above. To sign up for the Community Forum, players must agree to

King's Terms of Use and its Privacy Policy by checking a box that

says,    "I have read and agree to the Terms of Use and Privacy

Policy" and then clicking a green button that says, "Sign Up." ECF

No. 90 at 8. The words Terms of Use and Privacy Policy appear in

green     font   and   are    hyperlinked   to   the   applicable   terms   and

policies.    Id. Defendants identified Plaintiff's Community Forum

profile in their records and determined that she checked the box

agreeing to the Terms of Use and clicked "Sign Up" on April 21,

2023, which was during the time Plaintiff claims she was playing

in the Tournament. Id. at 10.

        King's Terms of Use include a binding arbitration clause which

states:

        21.3 Binding Arbitration: If the parties do not reach an
        agreed upon solution within a period of 30 days from the
        time informal dispute resolution is pursued pursuant to
        the paragraph 21. 2, then You and King agree that all
        Disputes shall be resolved by binding arbitration
        according to this agreement. ARBITRATION MEANS THAT YOU
        WAIVE YOUR RIGHT TO A JUDGE OR JURY IN A COURT PROCEEDING
        AND YOUR GROUNDS FOR APPEAL ARE LIMITED. Under this
        agreement, binding arbitration shall be administered by
        JAMS, a nationally recognized arbitration authority,
        under its procedures then in effect for consumer related
        disputes, but excluding any rules that permit joinder or
        class actions in arbitration (for more detail on
        procedure, see paragraph 21.5 below). You and King
        understand and agree that (a) the Federal Arbitration
        Act (9 U.S.C. §1, et seq.) governs the interpretation
        and enforcement of this paragraph 21, (b) this agreement

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       memorialises a transaction in interstate commerce, and
       (c) this paragraph 21 shall survive termination of this
       agreement.

ECF No.       34-1 ,      21. 3.    This arbitration provision applies to "all

Disputes          between        [the    user]   and    King     and/or   King's   parents,

subsidiaries and Affiliates relating to the Games and Services."

Id.    ,     21.1.   Affiliate           is defined as          "any entity controlling,

controlled by or under common control with King, where 'control'

means the direct or indirect ownership of more than fifty percent

(50%) of such entity's capital or equivalent voting rights." Id.

There is no dispute that King Digital and Activision are both

affiliates of King. Dispute broadly includes:

       any dispute, claim, controversy or action between [the
       user] and King (or any King Affiliates) arising out of
       or relating to this agreement, the Services, or any other
       transaction involving [the user] and King, whether in
       contract, warranty, misrepresentation, fraud,       tort,
       intentional tort, statute, regulation, ordinance, or any
       other legal or equitable basis.

Id.    Services include the                 "download,     access and/or use of King

games"       as    well     as     "customer     support,       social media,      community

channels and other websites that                       [King]    operate[s]   from time to

time           . . " Id.     ,r 1. 1 .
           Importantly, the arbitration agreement includes a delegation

clause which states, "[t]he arbitrator, and not any federal, state

or local court or agency, shall have exclusive authority to resolve

all disputes arising out of or relating to the interpretation,



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applicability, enforceability or formation 4 of this Agreement . .

. . " Id. 1 21.4. The arbitration provision also incorporates.JAMS

Rules,      which     similarly     provide   that        "[j] urisdictional            and

arbitrability disputes,           including disputes over the                 formation,

existence,     validity,       interpretation or scope         of    the agreement

under which Arbitration is sought               . shall be submitted to and

ruled on by the Arbitrator." ECF No.            92 at 8 ( quoting JAMS Rule

8 (b) ) .

        In addition to King's Terms of Use, King created a separate

set of Tournament Rules to govern Tournament play and activities.

ECF No.     34-2. These rules cover "player eligibility, Tournament

structure,     prize awards,        and player conduct."           Id.    1    1. 2 .   The

Tournament Rules "are in addition to and incorporate King's Terms

of Use . .          "Id. 1 2.3. However, "[i]n the event of a conflict,"

the Tournament Rules "shall govern." Id. 1 2.4. Unlike, the Terms

of Use, the Tournament Rules do not include an arbitration clause.

Instead,     they     require     that   "disputes       arising    out       of   or    in

connection with        [the]    competition          .    be adjudicated in the

courts of England." Id. 111.3.




4 "Formation"of an arbitration agreement entails a determination
whether the Plaintiff assented to the agreement, and that is a
matter for the courts, not the arbitrator, to decide. See Berkeley
County School District v. Hub International Limited, 944 F.3d 225,
234 {4th Cir. 2019). This question is not an issue in this case.
See ECF No. 91 at 7.
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     Plaintiff    originally          argued       that   Defendants          failed     to

establish that Plaintiff ever assented to either the Tournament

Rules or the Terms of Use, so she cannot be compelled to arbitrate

her claims.    ECF No.      65   at    1;       ECF No.   62    at   1.     Now,    in her

supplemental brief, Plaintiff no longer disputes that she agreed

to King's Terms of Use. See ECF No. 91 at 7 ("In the course of []

discovery,    Defendants offered evidence that Plaintiff agreed to

the Terms of Use by clicking the 'Accept' button."). Plaintiff's

remaining argument is that the Tournament Rules,                           which do not

require arbitration, take precedence over the Terms of Use, which

do require arbitration. Id. at 9-16. In other words, Plaintiff did

not agree to arbitrate these particular claims concerning the

Tournament because the arbitration provision in the Terms of Use

does not cover them.

     Defendants respond that (1) Plaintiff agreed to arbitrate her

claims,   including any disputes about                the applicability of              the

arbitration clause, when she accepted King's Terms of Use; (2) the

Tournament    Rules   cannot      supersede          Plaintiff's           agreement     to

arbitrate because there was no mutual assent to change or alter

that pre-existing obligation to arbitrate;                     and   (3)    even if the

Tournament    Rules   did    govern         Plaintiff's        claims,      no     conflict

between the Tournament Rules and Terms of Use exists because the

Tournament Rules' requirement to resolve disputes in the courts of

England, rather than through arbitration, applies only to non-U.S.

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participants to whom the pre-existing arbitration clause did not

already apply. ECF No. 92 at 1-2.

       II. Procedural Background

       Plaintiff filed her Complaint on May 9, 2023. Compl. On August

1,    2023,   Activision     Blizzard       Inc.   filed    a    motion   to   compel

mandatory alternative dispute resolution (ECF No. 33), a motion to

dismiss for lack of personal jurisdiction (ECF No. 35), a motion

to dismiss for improper venue (ECF No. 37), a motion to transfer

the    case   (ECF   No.   39),   and   a     motion   to       dismiss   claims   for

declaratory and injunctive relief (ECF No. 41). On August 15, 2023,

King and King Digital also filed a motion to compel mandatory

alternative dispute resolution (ECF No. 48), a motion to dismiss

for lack of personal jurisdiction (ECF No. 50), a motion to dismiss

for improper venue         (ECF No.   52),    a motion to transfer the case

(ECF No. 54), and a motion to dismiss claims for declaratory and

injunctive relief (ECF No. 56).

       On September 19, 2023, the Court held a telephonic conference

with the parties and decided to resolve the motions to compel

mandatory alternative dispute resolution first.                    ECF No. 85. 5 The


5 The Court has discretion "to choose among threshold grounds for
denying audience to a case on the merits." Sinochem Int'l. Co. v.
Malaysia Int'l Shipping Corp., 549 U.S. 422, 431 (2007) (quoting
Ruhrgas AG v. Marathon Oil Co., 526 U.S. 574, 585 (1999)); see
also Arnadasun v. Google, Inc., 2022 WL 2829644, at *1 (N.D. Ga.
July 19, 2022) (deciding the issue of arbitrability before issues
of   subject-matter   jurisdiction) ; Burch v.    1412  Lansdowne
Operating, LLC, 2021 WL 4443768, at *3 (E.D.N.Y. Sep. 29, 2021)
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parties      were       permitted       to   conduct      discovery         and    to   submit

supplemental briefings              on that          issue.     ECF No.     89.    Additional

proceedings and discovery were stayed pending resolution of those

motions.        Id.    Defendants    submitted their supplemental brief on

December 1,           2023   (ECF No.    90),    Plaintiff filed her response on

December 15, 2023 (ECF No. 91), and Defendants filed their reply

on December 22, 2023 (ECF No. 92).


                                         DISCUSSION

         I. Legal Standard

         Arbitration         agreements         are      "valid,        irrevocable,      and

enforceable, save upon such grounds as exist at law or in equity

for the revocation of any contract." 9 u.s.c. § 2. When a party is

"aggrieved by the alleged failure, neglect, or refusal of another

to arbitrate under a written agreement for arbitration," section

4   of    the    Federal Arbitration Act                (FAA)    allows         that party to

"petition any United States district court                          .   .   .    for an order

directing that such arbitration proceed in the manner provided for

in such agreement." 9 u.s.c. § 4.

         Before ordering arbitration,                 the court must be            "satisfied

that the making of the agreement for arbitration or the failure to




( "A court may resolve a motion to compel arbitration before
addressing a motion to dismiss based on lack of personal
jurisdiction or forum non conveniens.") (citing Sinochem, 549 U.S.
at 431).
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comply therewith is not in issue." Id. The standard is akin to

that of summary judgment. See Berkeley County School District v.

Hub International Limited, 944 F.3d 225, 234                             (4th Cir. 2019). If

there    is    no   genuine         dispute       of    material     fact     regarding     the

formation of an agreement to arbitrate, then the court may order

arbitration. Id. However, if the party "unequivocally denies 'that

an arbitration agreement exits,' and 'show[s] sufficient facts in

support' thereof[,]" the "court shall proceed summarily" to trial

on     the    motion    to     compel          arbitration.        Id.     (quoting    Chorley

Enterprises, Inc. v. Dickey's Barbecue Restaurants, Inc., 807 F.3d

553, 564 (4th Cir. 2015); 9 U.S.C. § 4).

        Ultimately, the Court must determine whether "(i) the parties

have    entered     into       a    valid      agreement      to    arbitrate,        and   (ii)

[whether]      the dispute in question falls within the scope of the

arbitration agreement." Chorley,                      807 F. 3d at 563.       If there is a

valid agreement to arbitrate,                    and the dispute falls within the

scope of that agreement, the court shall compel arbitration. Id.

        In some cases, however, the arbitration agreement may grant

the arbitrator, rather than the court, the exclusive authority to

decide threshold issues of arbitrability,                           such as whether the

arbitration agreement covers a particular dispute. Such agreements

are valid and enforceable, but the delegation clause must "clearly

and unmistakably" delegate that authority to the arbitrator. See

Rent-A-Center,         West,       Inc.   v.    Jackson,    561 U.S.        63,   69 n.1,     70

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(2010); Peabody Holding Co., LLC v. United Mine Workers of Am.,

Int'l Union, 665 F.3d 96, 102 (4th Cir. 2012)           (explaining that the

"clear and unmistakable" test is a higher standard for determining

whether the parties intended to arbitrate arbitrability). "[W]hen

an agreement      'clearly and unmistakably'       delegates the threshold

issue of arbitrability to the arbitrator,              a court must enforce

that delegation clause and send that question to arbitration."

Gibbs     v.    Haynes   Invs.,   LLC,    967   F.3d   332,    337   (4th    Cir.

2020) (quoting Rent-A-Center,       561 U.S. at 67)).         Put another way,

"if a valid [arbitration] agreement exists, and if the agreement

delegates the arbitrability issue to an arbitrator, a court may

not decide the arbitrability issue." Henry Schein, Inc. v. Archer

and White Sales, Inc., 586 U.S. 63, 69 (2019).

        II. The Parties Formed a Valid Arbitration Agreement

        After   discovery   and   supplemental    briefing,     neither     party

disputes that Plaintiff agreed to King's Terms of Use. ECF No. 91

at 7-8; ECF No. 92 at 2. Defendants' internal records affirmatively

demonstrate that Plaintiff agreed to King's Terms of Use in two

ways:    (1) by clicking an "accept" button signifying her agreement

to King's hyperlinked Terms of Use in a popup dialogue box on her

Candy Crush app on May 23, 2018, April 12, 2022, and August 28,

2022, and (2) by clicking a check-box affirming that she read and

agreed to King's hyperlinked Terms of Use when she registered for



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King's Community Forum website on April 21, 2023. ECF No. 90 at 2-

11.

        These   methods      of     acceptance        are       known       as     clickwrap

agreements. A clickwrap agreement can be defined as an agreement

where a party must digitally check a box or click a button to

acknowledge that the party agrees to certain terms and conditions

before using a service. See American Eagle Motors, LLC v. Copart

of Connecticut,      Inc.,    2023 WL 123503,           at *3      {E. D.    Va.    Jan.   5,

2023).    Courts    have     routinely     found      these      types      of     clickwrap

agreements,     including arbitration agreements, to be enforceable.

Id.; Hosseini v. Upstart Network, Inc., 2020 WL 573126, at *4, n.4

{E.D. Va. Feb. 5, 2020)           (collecting cases); Melo v. Zumper, Inc.,

439 F.    Supp.    3d 683,    697     (E. D.    Va.   2020) .    The key inquiry is

whether the clickwrap design provides the user with "actual or

constructive knowledge of the site's terms and conditions" and

"reasonable notice that a click will manifest assent" to those

terms    and conditions.       Melo,     439     F.   Supp      3d at    697       (internal

quotations omitted); Meyer v. Uber Technologies,                         Inc.,     868 F.3d

66, 75 (2nd Cir. 2017)            {quoting Sgouros v. TransUnion Corp., 817

F.3d 1029, 1033-34 {7th Cir. 2016)).

        Here, both types of acceptances of King's Terms of Use are

enforceable clickwrap agreements. See American Eagle Motors, 2023

WL 123503, at *3      (holding that a similar clickwrap agreement is



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enforceable}; Hosseini, 2020 WL 573126, at *5 {same} . 6 The in-app

dialogue box informed Plaintiff that she must "confirm that [she]

agree [s]    to   [King's]   Terms of Service" to continue playing and

provided a hyperlink to those terms indicated by a blue font color.

ECF No. 90 at 3. Plaintiff had to manifest assent to those terms

by affirmatively clicking a green "Accept" button. Id. Similarly,

King's      Community    Forum   signup    page   required   Plaintiff    to

affirmatively check a box acknowledging that "I have read and agree

to the Terms of Use and Privacy Policy." Id. at 9. The Terms of

Use and Privacy Policy were hyperlinked, which was indicated by a

green font color. Id. The language and layout in both formats gave

Plaintiff reasonable notice that clicking the button or checking

the box manifests assent to King's Terms of Use. And the Terms of

Use were conspicuously hyperlinked to give Plaintiff constructive

notice of the terms to which she was agreeing. See Melo, 439 F.

Supp. 3d at 697. Even if Plaintiff did not elect to read the terms,

her manifestation of assent still forms a binding contract in this

case. See, e.g., Chesapeake Builders, Inc. v. Lee, 492 S.E.2d 141,

145 {Va. 1997}; Sydnor v. Conseco Financial Servicing Corp., 252




6 Unlike in Sgouros v. TransUnion Corp., 817 F.3d 1029 (7th Cir.
2016} and Austin v. Equifax Information Services, LLC, 2023 WL
8646275 (E.D. Va. Dec. 14, 2023}, this case does not involve
deceptive clickwraps that foreclosed any finding of assent by the
consumer-plaintiff.
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F.3d 302, 306 (4th Cir. 2001); Melo, 439 F. Supp. 3d at 698. Thus,

these clickwrap agreements to arbitrate are valid and enforceable.

      King updated its Terms of Use no later than November 11, 2020,

and they remained in effect until November 2023. ECF No. 90 at 17.

Therefore,    finding no genuine dispute of any material fact,                   the

Court holds that Plaintiff did agree to that version of King's

Terms of Use (provided in ECF Nos. 34-1 and 49-2), and in doing

so, formed a valid agreement to arbitrate.

      The Court also finds that Plaintiff agreed to the delegation

clause in the arbitration agreement and holds that the delegation

provision is valid. Plaintiff did not make any challenge to the

enforceability or validity of the delegation provision.                     When a

litigant      fails   to    "chal 1 enge []      the     delegation     provision

specifically," courts "must treat it as valid." Rent-A-Center, 561

U.S. at 72.

III. The Arbitration Agreement Includes a Clear and Unmistakable
      Delegation Clause

      If a valid arbitration agreement exists, the next question is

whether    the   parties'   dispute    "falls        within   the   scope   of   the

arbitration agreement."        Chorley,     807 F. 3d at 563.       Usually,     the

Court decides that issue, but in some cases, the parties may agree

to   let   the    arbitrator    decide        such     threshold    questions    of

arbitrability. Such agreements are valid and enforceable. Rent-A-

Center, 561 U.S. at 68-70. "When the parties' contract delegates


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the arbitrability question to an arbitrator . . . a court possesses

no power to decide the arbitrability issue." Henry Schein,                      586

U.S.   at    68.    Instead,    the    court    should send the       arbitrability

question to arbitration. Gibbs, 967 F.3d at 337.

       However, "courts 'should not [simply] assume that the parties

agreed to arbitrate arbitrability . . . . '" Henry Schein, 586 U.S.

at 72 (quoting First Options of Chicago, Inc. v. Kaplan, 514 U.S.

938,   944    (1995)).     If the parties intend to "delegate threshold

arbitrability questions to the arbitrator,"                    they must do so by

"'clear and unmistakable'             evidence."    Id.   at    69   (quoting First

Options, 514 U.S. at 944). The Fourth Circuit has held that this

"standard is exacting, and the presence of an expansive arbitration

clause, without more, will not suffice." Peabody, 665 F.3d at 102.

Therefore, a proper delegation clause should state something to

the    effect      of   "'all   disputes   concerning the        arbitrability of

particular disputes under this contract are hereby committed to

arbitration.'" Id.          (quoting Carson v. Giant Food, Inc., 175 F. 3d

325, 330-31 (4th Cir. 1999)).

       Defendants        say that     the parties    clearly and unmistakably

agreed to arbitrate issues of arbitrability for two reasons. First,

the Terms of Use state: "The arbitrator, and not any federal, state

or local court or agency, shall have exclusive authority to resolve

all disputes arising out of or relating to the interpretation,

applicability,          enforceability,    or formation of this Agreement,

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including any claim that all or any part of this agreement is void

or voidable."           ECF No.    34-1     1 21.4. Defendants say that this
delegation provision granting the arbitrator "exclusive authority"

to resolve disputes involving the "interpretation, applicability,

enforceability,         or     formation"      of        the    Agreement        clearly       and

unmistakably vests the arbitrator with the authority to decide any

threshold arbitrability questions. ECF No. 92 at 7-8. Second, the

Terms of Use require arbitration to be administered under JAMS'

rules and procedures.             ECF No.      34-1       11 21. 3, 21. 4. JAMS Rules
provide that "arbitrability disputes, including disputes over the

formation,       existence,     validity,          interpretation or scope of the

agreement    under      which Arbitration             is       sought                  shall    be

submitted to and ruled on by the Arbitrator." ECF No.                                   92 at 8

(quoting         JAMS     Rule       8 (b),         https: //www.jamsadr.com/rules-

streamlined-arbi trai ton) .        According to Defendants,                     the    express

incorporation of JAMS Rules,                which include a              clear delegation

provision,       into    the     Terms    of       Use     clearly       and     unmistakably

demonstrates that the parties intended to arbitrate issues of

arbitrability. ECF No. 92 at 9.

        The Fourth Circuit has held that the incorporation of JAMS

Rules     into    an    arbitration       agreement            "serves     as        'clear    and

unmistakable'       evidence       of    the       parties'       intent        to    arbitrate

arbitrability." Simply Wireless,                   Inc. v. T-Mobile US,               Inc.,    877

F.3d 522, 528 (4th Cir. 2017), abrogated on other grounds, Henry

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Schein, 586 U.S. at 68. However, the Court limited its holding to

"the    context   of   a   commercial        contract   between   sophisticated

parties." Id. Montoya is certainly not a sophisticated party. She

was a     consumer who signed a     clickwrap agreement with a                 large

corporation in order to play a mobile game. Therefore, with the

Fourth Circuit's limitation in mind,              the incorporation of JAMS'

rules and procedures into the Terms of Use does not serve as clear

and unmistakable evidence of        the parties'         intent to- arbitrate

arbitrability in this particular context.

       Nonetheless, the language of the express delegation clause in

the Terms of Use does clearly and unmistakably delegate to the

arbitrator the exclusive authority to decide certain arbitrability

issues.    In Novic v.     Credit One Bank,         Nat' 1 Ass'n,     the Fourth

Circuit addressed whether a delegation clause contained language

that "specifically and plainly reflect[ed] the parties' intent to

delegate disputes regarding arbitrability to an arbitrator." 757

F. App'x 263, 266 (4th Cir. 2019). The delegation clause at issue

stated that "[c] laims subject to arbitration include .                    .   . the

application, enforceability or interpretation of [the cardholder

agreement] ,   including this arbitration provision."                Id.   at 266.

The Court of Appeals        found that this         language   "is    similar in

crucial respects to the language of the delegation clause at issue




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in Rent-A-Center," id., 7 and then held that both delegation clauses

would "unambiguously require arbitration of any issues concerning

the 'enforceability' of the arbitration provisions." Id. 8




7 The delegation clauses in Novic and Rent-A-Center are slightly
different. In Novic, the clause specifically delegates disputes
over the arbitration provision to the arbitrator. 757 Fed. App'x.
at 264 (" [c] laims subject to arbitration include, but are not
limited   to,    disputes  relating     to         the   application,
enforceability or interpretation of this Agreement, including this
arbitration provision.") (emphasis added). Contrastingly, in Rent-
A-Center, the delegation clause does not specifically mention the
arbitration agreement, only the agreement generally. 561 U.S. at
66 (giving the arbitrator "exclusive authority to resolve any
dispute    relating    to   the     interpretation,    applicability,
enforceability, or formation of this Agreement") (emphasis added).
Novic indicates that that distinction is not dispositive and
distinguishes the language in these delegation clauses from the
"broad wording of general arbitration provisions" that have been
previously rejected as not satisfying the "clear and unmistakable"
standard. 757 Fed. App'x at 266 (citing Peabody, 665 F.3d at 103;
Carson, 175 F.3d at 329). Those broadly worded provisions generally
provide for arbitration of "any dispute" or "any interpretive
dispute" regarding the entire Agreement and do not specifically
reference   arbitrability    issues    such  as   enforceability or
applicability as is the case here. See Peabody, 665 F.3d at 102-
03 (collecting cases).

8 InRent-A-Center, the Supreme Court did not address whether the
delegation provision at issue would satisfy the "clear and
unmistakable" test because the parties had not disputed that issue.
561 U.S. at 69 n.1. Instead, the Court addressed whether the
arbitration agreement was valid, which the Court noted is a
different analysis than the clear and unmistakable test. Id. The
district court did, however, find that the "Agreement to Arbitrate
clearly and unmistakenly [sic] provides the arbitrator with the
exclusive authority to decide whether the Agreement to Arbitrate
is enforceable." Id.


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        The delegation clause in this case is substantially identical

to the one at issue in Rent-A-Center. 9 Therefore, the Terms of Use

would likewise unambiguously require arbitration of any disputes

concerning the "applicability" of the arbitration provisions. This

is consistent with the holdings of courts in other circuits which

have addressed nearly identical delegation provisions. See, e.g.,

Garcia v. Family Dollar Stores of Texas, LLC, 2018 WL 6220135, at

*4   (W.D.      Tex.   May 9,      2018) (holding that the delegation clause

"clearly demonstrates that the Parties agreed that the issue of

arbitrability is for the arbitrator");                    Gomez v.     Rent-A-Center,

Inc.,     2018 WL 3377172          (D.N.J.    July 10,        2018) (holding that the

delegation provision "is a clear statement that the parties agreed

to      arbitrate      all   issues,    including        whether     the   Arbitration

Agreement itself is enforceable.").

        Thus,    Plaintiff's dispute must be arbitrated.                   Plaintiff's

core     argument      to    the   contrary       is   that    the   Tournament   Rules



9 The full delegation clause states, "The Arbitrator, and not any
federal, state, or local court or agency, shall have exclusive
authority to resolve any dispute relating to the interpretation,
applicability, enforceability or formation of this Agreement
including, but not limited to any claim that all or any part of
this Agreement is void or voidable." See Rent-A-Center, 561 U.S.
at 66. The delegation clause in the Terms of Use states,
"[t]he arbitrator, and not any federal, state or local court or
agency, shall have exclusive authority to resolve all disputes
arising out of or relating to the interpretation, applicability,
enforceability or formation of this Agreement, including any claim
that all or any part of this agreement is void or voidable." ECF
No. 34-1 ,f 21.4
                                             20
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supersede King's Terms of Use, and because the Tournament Rules do

not include an arbitration requirement,              Plaintiff should not be

required to arbitrate her claims. ECF No. 91 at 1-2. Whether the

Tournament Rules or the Terms of Use cover Plaintiff's claims is

a dispute over applicability that the arbitrator, not the Court,

must decide. Gibbs,        967 F.3d at 337        (quoting Rent-A-Center,     561

U.S.   at   67)   (" [W] hen an agreement         'clearly and unmistakably'

delegates the threshold issue of arbitrability to the arbitrator,

a court must enforce that delegation clause and send that question

to arbitration."). Thus, the arbitrator shall decide which terms

govern Plaintiff's claims,         and if     the Terms of Use do apply,

whether     the   claims   fall   within    the    scope   of   the   arbitration

agreement.

                                     CONCLUSION

       For the foregoing reasons, the Court holds that Plaintiff did

agree to King's Terms of Use and the arbitration agreement therein.

The Court also holds that the arbitration agreement includes a

valid delegation clause which clearly and unmistakably gives the

arbitrator exclusive authority to decide whether the Terms of Use,

and its arbitration provision,             apply to a      particular dispute.

Whether Plaintiff's claims fall under the Terms of Use or the

Tournament Rules      is a    question of applicability Plaintiff has

agreed to arbitrate.



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       Thus, pursuant to the FAA, the parties' dispute must proceed

to     arbitration,   and     the    arbitrator     shall      consider    whether

Plaintiff's claims are covered by the arbitration agreement in the

Terms of Use.     9 U.S. C.     §   4.    Accordingly,     DEFENDANT ACTIVISION

BLIZZARD,    INC.'S MOTION TO COMPEL MANDATORY ALTERNATIVE DISPUTE

RESOLUTION    (ECF No.   33)    and DEFENDANTS',          KING.COM,   LIMITED AND

KING    DIGITAL   ENTERTAINMENT          PLC,   MOTION    TO   COMPEL     MANDATORY

ALTERNATIVE DISPUTE RESOLUTION (ECF No. 48) will be granted.

       It is so ORDERED.



                                                    /s/
                               Robert E. Payne
                               Senior United States District Judge


Richmond, Virgjga
Date: April     , 2024




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